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             Tony                                 Vince                               David                            Maureen                          Mark
            Giannone                            Rinaudo                              Schmidt                            Barrett                         Blitman
 Gloria Fernandez/Darlene Grimm         Re nee Hernandez/ Jeff Gee       Michele Garcia/Christi Hammonds       Bea Padilla/Vicky Goldy         Jeff Gee/Renee Hernandez
                                                                           Primary Accounts
 AmerisourceBergen                X   Albertsons/SuperValu           X Diamond Pharmacy                    X   ANDA                       X Coast Guard
 Ahold-Giant                      X   Amerinet                       X Discount Drug Mart                  X   Afaxys                     X DOD
 American Health Pkg              X   Apex us                        X Frank W Kerr                        X API                          X Indian Health Services
 Armada                           X   Bartell's                      X Harvard                             X Cardinal                     X Minnesota Multi-State
 Cedardale                        X   Broadlane                      X ESI COMPANIES:                      X Chain Drug Consortium        X Public Health Service
 Cigna Mail                       X   Costco                         X     Curascript (Econodisc)          X   Epic                       X R&S
 CVS                              X   HEB                            X     Rx Outreach                     X Health & Diagnostic          X State Targets
 Giant Eagle                      X   Kaiser                         X GeriMed                             X HPG (HealthTrust)            X   VA
 HD Smith                         X   McKesson                       X Humana                              X Kerr                         X
 Hannaford Bros                   X   Morris & Dickson               X Immediate Pharm Servs               X Kinney                       X
 lnnovatix                        X   Novation                       X lndpendent Pharm Corp               X   NC Mutual                  X
 Medco Health Solutions           X   Optum (Prescription Sol)       X Keysource                           X   OptiSource                 X
 MHA                              X   PBA                            X Masters Rx                          X Premier Inc.                 X
 Oncology Supply (ABC)            X   Safeway                        X Meijer                              X   Prime Therapeutics         X
 Premier Group                    X   SAJ                            X Omnicare                            X   Publix                     X
 Price Choppers                   X   Schnucks                       X PDM                                 X   Puerto Rico Brand Launch
 Henry Schein                     X   Wal-Mart                       X Kroger/Peyton/ES 1/EconDisc         X   Rite Aid                   X
 Wakefern/S hoprite               X                                    Pharmacy Select                     X - Target                     X
 Webster Vet Sup                  X                                    Sears/Kmart                         X Thrifty White                X
 Weis Markets                     X                                    Shopko                              X Winn Dixie                   X
                                                                       Topco                               X
                                                                       Walgreen                            X
                                                                          Secondary Accounts
 HPG (Hospice)                    X   Brookshires (Topco)            X Aurora                              X   Fruth Pharmacy             X
                                      Sasha's                        X Dakota Drug                         X   APCI                       X
                                      Pamida                         X Dik Drug                            X   Cochran                    X
                                      Seacoast Medical               X OMS                                 X   Vita Rx                    X
                                      United                         X IPS                                 X   Gulf South/PSS             X
                                                                                                               Health partners            X
                                                                                                               Navarro                    X

                                                                                                                                         Watso 111 Pharmaceuticals~

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                                          ALLERGAN_MDL_03802656
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                                               Order Administration/
      Customer Relations                                                                     Master Data
                                                Specialty Accounts
     5:00 AM - 5:00 PM ET                                                               8:00 AM - 5:30 PM ET
                                               8:00 AM - 5:30 PM ET
  • Responds to                             • Sales Order maintenance.              • Master Data maintenance.
    inbound/outbound                        • Backorder maintenance .               • Reviews, validates, releases
    customer inquiries.                     • Order validation, review, and           SOMS orders.
  • Generates vital customer                  release.                              • Responsible for reporting
    reports.                                • Product allocation releases.            SOMS violations to DEA
                                            • Replacement order                       Affairs Dept.
  • Trains and implements on
    customer specific                         management.                           • Partners w/DEAAffairs Dept.
                                            • Brand Product/Program                   on compliance &
    programs/technology to                                                            requirements.
    support accounts.                         Support.
                                            • Patient Assistant Program             • Monthly review NTIS data.
  • Provides customer order                                                         • Monthly productivity reports.
    tracking, document request                Support.
                                            • Manages MTO/lnt'I                     • Call Center portal
    support, & pedigree
                                              accounts-partners with                  administration.
    validation.
                                              Demand Mgt., Materials Mgt.           • CARS Memberships
  • Brand & Field Rep.                      •Order Administration : On call hours   -Master Data: On call hours to support
    support.                                 to support business needs.              business needs
  • Watson product support
    program administration.


                                                                                              Watson Pharmaceuticals~

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                             ALLERGAN_MDL_03802657
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                                                                                               U S C u sto m e r R e la tio n s
                                                                                                        S u p p o rt
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                                                                                                    5A M - 5 PM ET
                                                                                                                                    S u p p o rt 10 B ra n d V a n ity
                                                     M o n th ly C R O /D C R e v ie w                                              Lines
                                                     m e e tin g s                                                                  Support 4 Brand Product
                                                                                                                                    Support Programs




                                                                                                                                                                     Support 2 Generic Vanity
                              Quarterly CRO/IT Business                                                                                                              Lines
                              Meetings                                                                                                                               Support 2 Generic Product
                                                                                                                                                                     Support Programs




                          Constant Process
                                                                                                                                                                         Develop value added metrics
                          Improvement
                                                                                                                                                                         to evaluate department
                          Analysis/Review/Evaluate




                                                                                                                                                       Review . justify, initiate and
                                        GS1 Bar Code/Case Label                                                                                                                   I

                                                                                                                                                       manage customer project
                                        SME Global Strategy                                                                                            request




                                                                          Watson
                                                                                                                    Respond to all consumer
                                                                          Pedigree/Serialization Project
                                                                                                                    /health care provider request
                                                                          Lead: GPhATask Force



                                                                                                                                                                                         Watson Pharmaceuticals~

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                                                                                              ALLERGAN_MDL_03802658
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Support Customers, Consumers, Healthcare Professionals, 5-SPM ET: All have access to work form home IP Agent.
In addition to the toll free Gust. Support line: 10 Brand Vanity Lines : Rapaflo, Trelstar, Expert Iron, Oxytrol, Papsure, Glenique, Pro Gel, Androderm, Generess, ella.
4 Brand Co-Pay Programs: Generess, Rapalfo, Gelniques, and Crinone
2- Generic Lines and Programs: Next Choice, and New Beginnings
Next Choice is the highest volume line of all phone lines with approx. 4K a month/2% come to CR
 Develop value added metrics to evaluate department strategy and results. Develop department strategy, and present value.
Manage all request for Customer projects, i.e. EDI, CSOS, Reports, Etc.

Respond to all consumer /health care provider request for patient assistance and Watson product inquiries

Pedigree/ Serializations, US/Global
GS1 US Barcode/Case labels
Process improvement strategies
Quarterly IT/Business meetings
Monthly DC/Business meetings




 CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                                         ALLERGAN_MDL_03802659
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                                                                                                                                                                      2011 YTD vs.       2011 YTD vs.
                                                                                                      2011                   2011              % of
BUDGET SUMMARY                                              2009               2010                                                                                     2010 YTD            2009 YTD
                                                                                                    Budget                YTD Actual        YTD Budget                0
                                                                                                                                                                       /oof change        0
                                                                                                                                                                                           /o ot· change


Total Headcount                                                      25                  24                    22                     22                 100.0%                  -8.3%             -12.0%
Total Call Center Budaet                                $    3,127,993    $      2,991,130     $       2,669,489      $       2,255,761                   84.5%                -10.8%              -14.7%
Labor                                                   $    2,105,306    $      2,154,930     $       2,104,511      $       1,763,421                   83.8%                  -2.3%               0.0%
Other Fvn,:::i.nc::,:::i.c::                            $    1,022,687    $        836,200      $        564,979      $         492,340                   87. 1 %              -32.4%              -44.8°/c

                                                                                                                                                                      2011 YTD vs.       2011 YTD vs.
                                                                           INDUSTRY                                                             YTD
CUSTOMER RELATIONS - KEY PERFORMANCE INDICATOI                                                        2009                   2010                                       2010 YTD           2009 YTD
                                                                          BENCHMARK                                                         October 2011              %of change          %of chang,2.-
                                                                                                                                                                                                              !



Average Calls Per CK Administrator (monthly avg)                                         NIA                    798                    668                   584               -12.5%              -26.8%
Service Le-.,,.el Standards                                                           90/20                     N/A                   97%                   99%                   2.7%                N/A
Average Percent of Abandoned Calls                                                     :$;3%                  1.1%                   0.9%                  0.8%                -16.3%              -30.1%
First Contact Resolution                                                               75%                      N/A                 99.0%                 93.5%                  -5.6%                N/A
Customer Follow Up Time                                                               ~90%                      N/A                   96%                   96%                  -0.4%                N/A
Average Speed of Answered Calls (seconds)                                          <10 sec.                       6                      5                     4               -21.3%              -35.4%
CSAT Survey Standard                                                                  ~85%                   93.0%                    94%                   97%                   3.4%               4.3%
Call Quality Standard                                                                 ~90%                   84.4%                    88%                   95%                   8.4%              12.6%
Average Cost of Call                                                                           $              4.10    $              5.38 $                6.28                 16.7%               53.2o/c

                                                                                                                                                                      2011 YTD vs.       2011 YTD vs.
TRANSACTIONAL STATISTICS - CUSTOMER RELATIONS AND SUPPORT                                                                                       YTD
                                                                                                      2009                   2010                                       2010 YTD             2009 YTD
SERVICES                                                                                                                                    October 2011              <yo.of change       (1/o.of change

Customer Requested Reports (100)                                                                                13                     13                      13                3.2%                3.2%
General Support Inquiries                                                                                      135                    122                     117               -4.0%              -13.3%
Patient Assistance & Consumer Calls                                                                             84                     80                      81                1.6%               -3.3%
Healthcare Professionals & Pharmacies support request                                                           38                     27                      26               -4.9%              -32.4%
*New Beginnings Consumer Support Program inquiries (including avg. calls per CRA)                               51                     29                      70             139.7%                36.3%

Average sales orders generated via Order Administration (non CII, SAA) (monthly a"9.)                      4,172                  4,123                   4,062                  -1.5%              -2.6%
A"9erage line items generated - all order                                                                 61,828                 64,249                  69,726                   8.5%              12.8%
Average invoices generated per order                                                                          1.8                    1-7                     2.0                17.6%               11.1%
Average Orders Reviewed per Order Administrator (monthly a"9.)                                             1,391                  1,374                   1,354                  -1.5%              -2.6%
A-.,,.erage Allocation Time per Order (hours)                                                                4.42                   3.25                    4.25                30.8%               -3.8%
Average Cost of an Order - Manual                                                              $            6.54      $            4.21  $                 4.18                  -0.7%             -36.1%
Average Cost of an Order - EDI                                                                 $            1.54      $            2.21  $                 2.51                 13.6%               63.0%

Custom·er/License Master record review/administration                                                          216                    283                     329               16.3%              52.3%
SOMS Validations                                                                                                62                    167                     280               67.7%             351.6%
CARS record r~view/administration                                                                              199                    201                     208                3.5%               4.5°/c

                                                                                                                                                                      2011 YTD vs.       2011 YTD vs.
                                                                                               YTDAVERAGE             YTDAVERAGE                YTD
TRANSACTION.AL STATISTICS - SPECIALTY ACCOUNTS                                                                                                                          2010 YTD           2009 YTD
                                                                                                   2009                  2010               October 2011              %of change          %of· chang(~


Total # of MTO/lnternational Accounts                                                                           25                     25                        28            12.0%                12.0%
Average # of MTO/lntemational Orders (monthly avg. per SAA)                                                     17                     10                        11            10.0%               -35.3%
Total Dollars MTO/lnternational                                                                $    15,837,429.42     $    18,001,666.75    $   19,862,732.42                  10.3%                25.4%
Average # of Patient Assistance Program Support Orders (Brand Products)                                         64                    122                   228                87.2%              256.9%
Total Dollars PapSure                                                                          $       481,250.00     $       375,375.00    $      445, ooew>.:                18.5%                 -7.5%
Total Dollars Crinone                                                                          $               -      $     2,374,829.21    $    7,791, 713.'."'9T            228.1%                   N/A
Total Dollars Trelstar                                                                         $    8,259,973.75      $    10,540,798.33    $   16,602,670.40                  57.5%              101.0%



CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                                                                 ALLERGAN_MDL_03802660
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•    Pedigree/Serialization Project Request Approval - July 2011
      - India Serialization: exported product
•    Reverse Distribution RFP
•    Global Bar Code /Case Label Standardization : 3 Party Mfg Policy -Dec.
     2011
      - Develop global standardization process
      -    Create strategy and execute plan to correct all non-compliant case labels.
•    Implementation - Global Order to Cash - SAP/ERP - Canada- Dec. 2011
            - Order Processing
            - Master Data
•    Salesforce.com - CRM replacement for Siebel - Oct. 2011
•    SOMS Assessment Initiation
      - DEA Affairs initiative - MD owner in SAP
•    CARS - Master Data Assessment - July. 2011
•    Brand Product Launch Teams: (5)- Nov 2011 - March 2012
•    Portal - CRO Department Training Program - Dec. 2011                                    Watson Pharmaceuticals~

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                             ALLERGAN_MDL_03802661
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•    Pedigree/Serialization Project Team
      - Define Project team roles/responsibilities • Identify strategic imperatives
      - CA 2015 I Federal
•    Reverse Distribution RFP Completion
      - Return Goods Policy
•    Implementation - Global Order to Cash - SAP/ERP - UK
      - Order Processing
      - Master Data
•    SOMS Systems - Partner with DEA Affairs to
      - DEA Affairs initiative - MD owner in SAP
•    CARS Replacement -Partner with contracts to manage data in new system
      - Training, Creation of processes, and procedures
•    Brand Product Launch Teams: (2) March 2012
•    KPI Combined Metric Dashboard - Partner with VP Global Ops/Demand
     Planning & Distribution team to define Metric Imperatives
•    New Account Approval Process - Evaluate necessary process flow and, e
     approvals                                             Watson Pharrreceuticets.

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                             ALLERGAN_MDL_03802662
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    SOM (Suspicious Order Management) is a DEA requirement (21 CFR
      1301. 7 4(b)) which, specifically requires that a registrant "design and operate
      a system to disclose to the registrant suspicious orders of controlled
      substances."

    What is a 'suspicious' order?
    DEA 21 CFR 1301.74(b), describes suspicious orders as having significant
      deviation in, Order Size (Quantity), Order Frequency, and/or Order Pattern.

    * Anti-diversion is Proactive, not Reactive:
        Controlled Substance Registrants are required to place on hold, investigate, and
        disclose to the DEA all suspicious ORDERS of controlled substances; NOT
        suspicious SALES after the fact.




                                                                                            Watson Pharmaceuticals~

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                             ALLERGAN_MDL_03802664
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Protects Watson, protects your customers. We are required to know our customers, cutomer.




 CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                ALLERGAN_MDL_ 03802665
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                                                  System Flow
      Order enters system.                                                                        Definitions
                                                                                            COT = Class of Trade
                                                                                            SH= Ship-To
                                                                                            YOY = Year over year
                                                                                            YTD = Year to date
                                    No
                                                No block, order continues
                                                    through system.



                                                              No

                                   No                                          Yes            Print SOMS Form(s)
                                                                                           (continued on next page)




                   Yes



                                               SOMS Valldatlon {System)




       SOMS block 12:               SOMS block 13:                    SOMS block 10:         SOMS block 11: Suspect
     Suspect (SH avg/mth)        Suspect (SH avg/order)            Suspect (COT avg/mth)        (COT avg/order)


                                    System reviewing Order Size & Order Frequency

                                                                                                  Watson Pharmaceuticals~

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                ALLERGAN_MDL_03802666
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                                                     Collaborative Review Process

          Print SOMS Form(s)
    (continued from previous page)                                                    No      Determine order
                                                                                               released code.




                                                          Send order along with all
                                                           documentation to DEA
             Analysis of SOMS form(s)
                                                             Affairs for review.
   During the analysis, we attempt to use all the
   information we have on hand before reaching                                                                             No
   out to the customer. We have multiple tools
   to accomplish this, a few examples of the
   tools we use are:
                                                                                           Get management signature.
      A Check call log to see if we previously
         contacted the customer during the
         current month for the product.
               If so, re-analyze to determine if
               another investigation/customer                                              Enter release code to release
               contact is needed.                                                            order. Order continues
      A Review 852 & 867 (when available)           Yes                                          through system.
      A Review past shipping history of
         product (YOYNTD comparison)
      A Contact internal departments to see if
         they have additional information.
               Demand Management
               Marketing
               CRA
      A Look for Order Pattern.
      A Customer contact                                                                        DEA Affairs will handle
                                                                                                order and advise of any
                                                                                                   actions needed.         . ,1   .   e
                                                                                                   Watson Pharmaceuticets.

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                 ALLERGAN_MDL_03802667
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CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                              ALLERGAN_MDL_03802668
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                                                                                                  W ee k Ending 02/27 /11                                          W eek End ing 03/0 6/11

                                                                                  852 O n-        852 A vg                      852     852        852 O n-        852 A vg                       852       852
                               Product                               Product ID                                     852 D O H                                                         852 DO H
                                                                                  Hand Qty        D aily Sold                   WOH     Sold       Hand Q ty       D aily So ld                  W OH       Sold

 ACARBOSE lOOMG TAB 100, {000000016252052501)                       16252052501               4                 0       56.0      8.0          1               4                  0       84.0     12.0
 ACARBOSE 25MG TAB 100, (000000016252052301)                        16252052301               4                 0       24.0      3.4          1               3                  0       18.0      2.6            1
 ACARBOSE 50MG TAB 100, {000000016252052401)                        16252052401               3                 0       63.0      9.0          1               1                  0       14.0      2.0            2
 AFEDITAB CR 30MG TAB 100, {000000000591319301)                     00591319301               9                 0       27.0      3.9          1               8                  0       30.5      4.4            1
 AFEDITAB CR 60MG TAB 100, {000000000591319401)                     00591319401              13                 0       54.6      7.8                         12                  0       56.0      8.0            1
 ALBUTEROL SULFATE INH 0.083% 25X3ML 75, (000000000591379783)       00591379783        1,397                 15         91.1     13.0      75           1,210                 17          71.1     10.2       187
 ALBUTEROL SULFATE INH 0.083% 30X3ML 90, (000000000591379730)       00591379730               0                 0        NaN     NaN                           0                  0        NaN      NaN
 ALBUTEROL SULFATE I NH 0.083% 60X3ML 180, (000000000591379760)     00591379760         513                  16         32.2      4.6     121             454                 14          31.6      4.5        59
 ALBUTEROL SULFATE INH 2.5MG/3ML 25X3ML, {000000016252009722)       16252009722               0                 0        NaN     NaN                           0                  0        NaN      NaN
 ALBUTEROL SULFATE INH 2.5MG/3ML 60X3ML, {000000016252009766)       16252009766               0                 0        NaN     NaN                           0                  0        NaN      NaN
 ALENDRONATE SODIUM 35MG TAB 4, {000000000591007704)                00591007704               0                 0        NaN     NaN                           0                  0        NaN      NaN
 ALENDRONATE SODIUM 35MG TAB 4, {000000000591317104)                00591317104              38                 1       51.5      7.4          2              34                  1       49.2      7.0            4
 ALENDRONATE SODIUM 70MG TAB 4, {000000000591003104)                00591003104               0                 0        NaN     NaN                           0                  0        NaN      NaN
 ALENDRONATE SODIUM 70MG TAB 4, {000000000591317304)                00591317304        1,378                 51         26.9      3.8     213           1,158                 53          21.9       3.1      221
 AMLODIPI NE BESY/BENAZEPRI L 10/20MG CP100, (000000000591376001)   00591376001              43                 2       22.0      3.1          7              27                  2       13.8       2.0          16
 AMLODIPI NE BESY/BENAZEPRIL 10/20MG CP500, {000000000591376005)    00591376005              10                 0      105.0     15.0                          9                  0       94.5     13.5            1
 AMLODIPINE BESY/BENAZEPRIL 2.5/lOMG ClOO, {000000000591375701)     00591375701               8                 0       30.5      4.4          2               7                  0       26.7       3.8           1
 AM LODI PINE BESY/BENAZEPRIL 5/lOMG CAP100, {000000000591375801)   00591375801              28                 1       26.1      3.7          1              21                  1       25.9       3.7           7
 AMLODIPINE BESY/BENAZEPRIL 5/lOMG CAP500, {000000000591375805)     00591375805              14                 0      588.0    84.0                          14                  0     Infinity Infinity
 AMLODIPINE BESY/BENAZEPRIL 5/20MG CAP100, (000000000591375901)     00591375901              39                 2       23.7      3.4         17              30                  2       19.7       2.8           9
 AMLODIPINE BESY/BENAZEPRIL 5/20MG CAP500, {000000000591375905)     00591375905               3                 0        15.8     2.3          4               1                  0        4.7      0.7            2
 ATENOLOL/CHLOR 100/25MG TAB 100, {000000000591578301)              00591578301              25                 1       31.8      4.5          3              22                  1       31.9      4.6            3
 ATENOLOL/CHLOR 50/25MG TAB 100, {000000000591578201)               00591578201              16                 1        21.0     3.0          3               0                  1        0.0       0.0          16
 BALSALAZIDE DISODIUM 750MG CAP 280, {000000000591357035)           00591357035               0                 0         NaN     NaN                          0                  0        NaN      NaN
 BUPROPION HCL ER {SR DEP) lOOMG TAB 60, (000000000591354060)       00591354060              37                 1        29.9     4.3          9              29                  1       22.1       3.2           8




                                                                                                                                                           Watson Pharmaceuticals~

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                                                                 ALLERGAN_MDL_03802669
                           Case: 1:17-md-02804-DAP Doc #: 1967-85 Filed: 07/23/19 18 of 35. PageID #: 177226




                                                                                                       Ship To     Ship To                                               ContractPric
               l~.                                                                           ...;··i    Stats;       Zi [ ;. ·i   Inv . . ;. ~,   Prodld ....
  Start Date         EndDate[~] ShipFromNt,E] ShipToNtvl(~_                  ShipToNm        t. J           tt ,       P_ J          oL. _J                     Qty[~]        e    ~
     8/1/2010         8/7/2010IRK0236403     IBP7680146       Precision Care Pharmacy                  PA            1565018/2/2010100591080005                     1         $20.99
     8/1/2010         8/7/2010IRK0236403     IBP4833225       PNS INSTITUTIONAL                        TN            3760418/2/2010100591080105                     1         $26.05
     ~L1/2010         8/7/2010IRK0236403     IBP4833225       PNS INSTITUTIONAL                        TN            3760418/2/2010100591084501                     1         $20.25
     8/1/2010         8/7/20101 RK0236403    I BP4833225      PNS INSTITUTIONAL                        TN            3760418/2/2010100591354125                     2         $76.99
     8/1/2010         8/7/2010IRK0236403     IBP4833225       PNS INSTITUTIONAL                        TN            3760418/2/2010100591354060                     2         $19.05
     8/1/2010         8/7/2010IRK0236403     IBP4833225       PNS INSTITUTIONAL                        TN            3760418/2/2010100591343330                     3          $7.10
     8/1/2010         8/7/20101 RK0236403    I FT1693173      The_~_pothecary Shop                     TX            7523518/2/2010100591085305                     1         $68.45
     8/1/2010         8/7/2010IRK0236403     IFL1925621       LIFETIME RX PHARMACY,                    TX            7703918/2/2010100591050305                     7         $26.20
     8/1/2010         8/7/2010IRK0236403     IFL1925621       LIFETIME RX PHARMACY,                    TX            7703918/2/2010100591551310                     2         $64.99
     8/1/2010         8/7/2010IRK0236403     IFL1925621       LIFETIME RX PHARMACY,                    TX            7703918/2/2010100591065701                     3          $2.99
     8/1/2010         8/7/2010IRK0236403     IBS6156372       Q_wil'"lgsville Drug                     KY            4036018/2/2010100591034905                     1         $15.80
     8/1/2010         8/7/2010IRK0236403     1883245481       Brine Pharmacy                           OH            4442018/2/2010100591317304                    24          $3.30
     8/1/2010         8/7/20101 RK0236403    I 883245481      Brine Pharmacy                           OH            4442018/2/2010100591084510                     1        $203.99
     8/1/2010         8/7/2010IRK0236403     IFK0645551       K2 Pharmacy                              TX            7701518/2/2010100591050305                     4         $26.20
     8/1/2010         8/7/2010IRK0236403     IFK0645551       K2 Pharmacy                              TX            7701518/2/2010100591054005                     3         $51.90
     8/1/2010         8/7/2010IRK0236403     IFK0645551       K2 Pharmacy                              TX            7701518/2/2010100591551310                    12         $64.99
     8/1/2010         8/7/2010IRK0236403     IFK0645551       ~_? Pharmacy                             TX            7701518/2/2010100591034705                     1         $30.75
     8/1/2010         8/7/2010IRK0236403     IFS2019102       STAR PHARMACY INC                        TX            7707118/2/2010100591551310                     5         $64.99
     8/1/2010         8/7/20101 RK0236403    f FQ0055790      Qualicare Pharamcy                       TX            7702618/2/2010100591050305                     4         $26.20
     §ll/2010         8/7/20101 RK0236403    I FQ0055790      Qualicare Pharamcy                       TX            7702618/2/2010100591054005                     2         $51.90
     8/1/2010         8/7/20101 RK0236403    I FQ0055790      Qualicare Pharamcy                       TX            7702618/2/2010100591551310                     4         $64.99
     8/1/2010         8/7/20101 RK0236403    I FG0254552      Guardian Pharmacy of Daytona             FL            3217418/2/2010100591317104                     1          $2.40
     8/1/2010         8/7/2010IRK0236403     IFG0254552       Guardian Pharmacy of Daytona             FL            3217418/2/2010162037056005                     1        $249.50
     8/1/2010         8/7/2010IRK0236403     IBH7083847       Anderson Crossing Pharmacy               TN            3770518/2/2010100591354125                     2         $93.70
     8/1/2010         8/7/2010IRK0236403     IBR9534315       The RX Shop                              FL            3375618/2/2010100591551310                     1         $64.99
     8/1/2010         8/7/20101 RK0236403    I BR9534315      Tbe RX Shop                              FL            3375618/2/2010100591222910                     1         $33.85



                                                                                                                                          Watson Pharmaceuticals~

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                                            ALLERGAN_MDL_03802670
                             Case: 1:17-md-02804-DAP Doc #: 1967-85 Filed: 07/23/19 19 of 35. PageID #: 177227




Sum of QTY DELIVERED                                                                                                                                   :SHIP TO          CITY L_::J
                                                                                                                                                        l:::ICase :Study
MATERIAL#              [~] DESCRIPTION                              [~]Y.ear.s         [~] Months     [~J .SH IP o(~J :SO DATE [~] SO#'   [~] CUST PO[~] Anytown, USA
1?J 0059158:lBOl          1?.1 MET.HYLPHENIDATE HC.L 10MG TAB 100       1:::.:i2009       f:f.1feb                                                                 60
                                                                                          t±JMar                                                                     60               120
                                                                                          ffJApr                                                                     36
                                                                                          tf.JMay                                                                    2.4
                                                                                          tf.JJun                                                                    24
                                                                                          ffJJul                                                                     60
                                                                                          i.:FJAug                                                                   24
                                                                                          i.+.1Sep                                                                   36,
                                                                                          ffJOct                                                                     60
                                                                                          ff.JNov                                                                    1.2.
                                                                                          (fl Dec                                                                    36
                                                                        2009 Total                                                                                  432.
                                                                        (?)201.0          rt.Uan                                                                     12
                                                                                          ffJfeb                                                                     48
                                                                                          1.£JMar                                                                    36                9=6
                                                                                          f±JApr                                                                     48
                                                                                          (fJMay                                                                     24
                                                                                          i:f.JJun                                                                   1.2.
                                                                                          ff.Hui                                                                     24
                                                                                          i.'f.JAug                                                                  48
                                                                                          l.:EJSep                                                                   1.2
                                                                                          t±.IOd                                                                     .54
                                                                                          fflNov                                                                     48
                                                                                          (:f.1Dec                                                                   2.4
                                                                        201.0Total                                                                                  3·9,0
                                                                        l~'.1 201.1.      H:'.JJan                                                                   3-6
                                                                                          (±Jfeb                                                                     60
                                                                                          ff.JMar                                                                    36               132
                                                                        201.1. Total                                                                                132.
                          METHYLPHENIDATE HCL 10MG TAB 100Total                                                                                                     g54
00591588.:301 Tota I                                                                                                                                                95,4
Grand Total                                                                                                                                                         954




                                                                                                                                                 Watson Pharmaceuticals~

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                                                ALLERGAN_MDL_03802671
                                       Case: 1:17-md-02804-DAP Doc #: 1967-85 Filed: 07/23/19 20 of 35. PageID #: 177228




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       d         ~        ~:::,:=~:::=::::,::::;:=::~::,:: :,:=.:::,:::=~.:::::::::,:::::=:::::::,:=::=:=,:.:-~:::::::::::=:::::::::::::::::::::::::::=:.::=:::::,::::,:::::-N::::=::::,~~==:::::::::::::-::,:::::::::::::::::::::,:::~~:.:::::::::•,:::;:::::::::,::,::::,:::,::::::::::-~:=::,:::::::,:•::,:::::,:::::;:::::::: .::::::::::::,:::,:,::::~:,::,: :,:::::::,:::::::::: ::,:-.:,:::::::::,:: :::::::~:::::,:,: :::,:::,:::.:•,:•::::,:::::::,::::::::::::::::::::.::::: ::::::::::l
~                ~
               Subject:     E.xarnple Order(s) on Hold


 l!-H E:xamplle, in accordance wrth 21 CIFIR.1301..74, vae are rrequi'red to conduct i'ndeperndent anallysi's of orders prior to cornplettng a sale to determil'rne                                                                                                                                                                                                                                                                                                                       ...,,
 whe'ther substances are likel!y to lbe dlve rte d from le.gf1:i'mate channels . You have be.em contacted due to the fact tlhat yourr order pllaced today has
 prompted further analysis based om a devtatton tn one of the followjng areas; unusual stze , frequency,. or pattern. lln an effort to expedite tlhe
 i1nvestigatiion proce ss arid rnrttgate any delays or tncorwerue.nce , vt1e are re que sttng supporting rnforrnatroo necessary to justrfv the fulfiillllment of the
 order i'in question.

 IPO~ 032511
 00.591034-90.5 HYDIRCOIDOINIIE/ APAIP .5/.SOOMG TAB .500 -· QTY 100


 !Please mote the enti're order ts on lholld. Your quick response v,,iH ensure your errtire order will lbe released iin a ttrnely manrner.

 Any que stroris, let me know

 Tlhanks,

 !Larry


 Larry Shaffer
 @. ½ atson Prrarrrra, Inc
           7


 Ma ster Data .Ad.m..tn:.fi.strator
 .360 )vfoun:tt Kem.ble Averuae
 Morrt.stow-rt. . XJ 0796.2-19.5.3
 P. 973.3.5.5.81.52
 F 973.3.55.8221
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .....


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                                                                                                                                                                                                                                                                                                                                                                                Watson                 . t.s~,G
                                                                                                                                                                                                                                                                                                                                                                                       P·· · h. ermaceunca    · ·                                                       A




CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                                                                                                                                                   ALLERGAN_MDL_03802672
                   Case: 1:17-md-02804-DAP Doc #: 1967-85 Filed: 07/23/19 21 of 35. PageID #: 177229




A   Watson's Global Security & DEA Affairs Department is
    responsible for the investigation and disposition of controlled
    substance "orders of interest"
      A   "Registrants must conduct an independent analysis of suspicious
          orders prior to completing a sale to determine whether the controlled
          substances are likely to be diverted from legitimate channels." (Dec
          2007 DEA letter)


A    Order of Interest Evaluation v. Suspicious Order
     Investigation

A    Common "Red Flags"
                                                                                             .. '
                                                                                             Watson P'··· .h arrnaceutica
                                                                                                               .      _A  ts~,G
                                                                                                                              · ·

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                            ALLERGAN_MDL_03802673
                  Case: 1:17-md-02804-DAP Doc #: 1967-85 Filed: 07/23/19 22 of 35. PageID #: 177230




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                                                                                            Watson Ph      .   __ t.sG)
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CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                             ALLERGAN_MDL_0380267 4
                   Case: 1:17-md-02804-DAP Doc #: 1967-85 Filed: 07/23/19 23 of 35. PageID #: 177231




A   Orders are thoroughly investigated and if substantiated by
    the customer, they are released within the SAP System and
    filled by the Gurnee Distribution Center
      A   Documented evidence to support order release
      A   Requires immediate attention - Preserve legitimate business
          relationships

A    If an order is deemed suspicious, the customer's order is
     cancelled and an investigation report is completed

A   All suspicious orders are reported to the DEA Chicago Field
    Office
      A   To date, Watson has reported a few suspicious order to the Chicago
          Field Office
                                                                                             Watson Pharmaceuticals~

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                          ALLERGAN_MDL_03802675
                           Case: 1:17-md-02804-DAP Doc #: 1967-85 Filed: 07/23/19 24 of 35. PageID #: 177232
Please do not promise your customer controlled product with the impression that Marketing is the only approval process. Typically the large wholesalers are not an issue,
however, smaller wholesaler and distributors, and some chains, and mail order will be held and required to provide documentation. All responses are auditable.




 CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                                      ALLERGAN_MDL_03802676
                   Case: 1:17-md-02804-DAP Doc #: 1967-85 Filed: 07/23/19 25 of 35. PageID #: 177233




Partnershit2 Conference Call Agenda
A   Introductions - By Organization
A   Goals and Benefits of Meeting - Watson Pharma & Customer
A   Basics of Watson SOMS System - Watson - Mary Woods
A   DEA Regulatory Landscape/Impact on Watson Order Review Process
    - Lisa Scott
A   Distribution Limits/Policy Review - Customer
A   Vetting process/Customer Investigation - Customer
A   Customers Base - Customer




                                                                                             Watson Pharmaceuticals~

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                          ALLERGAN_MDL_03802677
                            Case: 1:17-md-02804-DAP Doc #: 1967-85 Filed: 07/23/19 26 of 35. PageID #: 177234
Most of the time the education process is enlightening, the customer will provide us with copies of policies, procedures, distribution limits, customers, agree to 852 data, send
usage, etc. and are as concerned as we are, and sometimes that are red flags that present a risk that is to big for W atson. Customers shipping to in correct licensed facilities,
physicians receiving inordinate amount of controls monthly to dispense from their office, YOY incre ases of abused controls by 85% , high % of distribution in the states of TX,
FL, KY, GA, TN., 70% or more of their pill volume from W atson is controlled product.




 CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                                          ALLERGAN_MDL_03802678
                   Case: 1:17-md-02804-DAP Doc #: 1967-85 Filed: 07/23/19 27 of 35. PageID #: 177235




 Results of partnership conference call
 A  Customers able to grow their business, but we need documentation/visibility to be
    justifiable.
 A  Customers willing to provide 852 & 867 data.
 A  Data comprehension.
 A  Order Justification.
 A  Customers willing to implement more stringent and rigorous requirements for SOMS
    evaluation process.
 A    Partnering with our DEA Affairs department.
 A    Thorough Customer questionnaires
 A    Thorough vetting process/site visits
 A    Periodic site visits
 A    Mix of products on contracts and orders




                                                                                             Watson Pharmaceuticals~

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                          ALLERGAN_MDL_03802679
                          Case: 1:17-md-02804-DAP Doc #: 1967-85 Filed: 07/23/19 28 of 35. PageID #: 177236
Many smaller dist still manually monitor the SOMS process.
Bids and contracts should be well balanced between controls and RX




 CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                ALLERGAN_MDL_03802680
                                                           Case: 1:17-md-02804-DAP Doc #: 1967-85 Filed: 07/23/19 29 of 35. PageID #: 177237




Prosp e ct N a m e :                                                                                I   Date:     I   DNA Requesting:

                                                                                                                                                          Overall volume is based on pill/patch/vial count not units.
Address:
City:
                                                                                                          r····, rip:                                                 (Total overall volume should total 100%)
Contact Name:                                                                                             I Phone#:                                 Generic Rx (non
Email:                                                                                                            I CRA:                                                     % of overall volume from Watson:
1.              Is your company a member of Health Distributors & Manufacturers Association (HDMA} or National                HOMA
                                                                                                                                                    Control)
                Association of Chain Drug Stores (NACDS}                                                                      NACDS
                                                                                                                              Not a member                                   % of overall volume       Is your customer
                                                                                                                                                    Schedule C3-CS
                                                                                                                                                                             from Watson:              list available for
1.              Will you be able to commit to purchasing a minimum of $250,000annually?
                                                                                                                              Yes   No
                                                                                                                                                                                                       review? Yes      No
1.              Wifl you commit to stocking a minimum of 100 different SKU's?                                                 Yes   No                                       % of overall volume       Is your customer
1.              Are you a complete full line wholesaler?
                    Comments:                                                                                                 Yes   No              Schedule C2              from Watson:              list available for
1.              Who are you currently purchasing from? Provide name(s) of wholesaler/distributors:                                                                                                     review? Yes      No
                                                                                                                                                    OTC                      % of overall volume from Watson:
1.              Do you have copies of the following registrations/license(s)? Must provide copies of state, DEA and Resale Tax exempt certificate
                with qualifying questionnaire.                                                                                                      Brand Rx                 % of overall volume from Watson:
                       State Pharmacy Board License#:                                                           Exp. Date:          N/A
                                                                                                                                                    1.    What credit line are you looking for?
                                                                                                                                                    1.    Is this prospect ready to place an order?     I Yes     No
                       DEA Registration Number:                                                                 Exp. Date:          N/A
                                                                                                                                                     ADDITIONAL INFORMATION FOR CUSTOMER RELATIONS ONLY.

                       Resale Tax Exempt Certificate Number:                                                    Exp. Date:
                                                                                                                                                    A.    New Customer Request received from:
                                                                                                                                                               Call from Prospect   DNA     Other: f (Provide Name)
                       Remarks:

                Will you commit to buying in case quantities?                                                                 Yes   No
                                                                                                                                                    A.    Customers requesting to purchase C2- CS: Provide
1.              Will you be ordering through EDI?                                                                             Yes   No                    questionnaire and customer list to DEA
1.              Do you utilize CSOS?                                                                                          Yes   No
                                                                                                                                                          Compliance/Director Customer Relations.
1.              What is your Class ofTrade?
1.              Who are your customers i.e. Nursing homes, pharmacies, clinics etc.?                                                                     Remarks:
                What products in our line are you interested in purchasing?

1.              Does your company follow a vetting policy for new accounts?                                                   Yes    No

1.              Is this policy available for review?                                                                          Yes    No

1.              Does your company follow a CSOP for review/enforcing distribution limits for controlled substances?           Yes    No

1.              Is this policy available for review?                                                                          Yes    No
                                                                                                                                                                                                      Watson Pharmaceuticals~

     CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                  ALLERGAN_MDL_03802681
                  Case: 1:17-md-02804-DAP Doc #: 1967-85 Filed: 07/23/19 30 of 35. PageID #: 177238




  On December 12th, 2011 The DEA announced that effective January 11th, 2012,
  Carisoprodol will be placed in schedule IV of the Controlled Substance Act.

  Any person who engages in the manufacturing, distribution, dispensing, importing,
  exporting, as well as any person who possesses the drug will be subject to the provision
  of the Act and the DEA regulation, including the Act's administrative, civil, and criminal
  sanctions which are applicable to schedule IV controlled substances.

  Januart 11th2 2012:Carisoprodol will be regulated as a C-IV controlled substance
       following the Controlled Substance Act.
  •All customer orders/backorders remaining open at the COB on January 10th will be
  cancelled.
  •Customer Relations will notify customers of any cancelled orders to determine if a new
  PO will need to be submitted as a C-IV controlled product, on or after January 11th, 2012.
  •Carisoprodol will be monitored and reviewed as all other controlled substance products.
  •NOC number will remain the same
  •Carisoprodol inventory will continue to be shipped in the current non CIV
  label/packaging. Updates as to the timing of the new packing will follow.


                                                                                            Watson Pharmaceuticals~

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                             ALLERGAN_MDL_03802682
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     •A[;!ril 10th, 2012: Labeling and Packaging -All commercial containers of
     Carisoprodol that are packaged on or after April 10th, 2012 shall be
     labeled as C-IV and packaged in accordance with 21CFR 1302.03-
     1302.07. Commercial container packaged before April 10th, 2012 and not
     meeting the requirement of 21 CFR 1302.03-1302.07 may be
     distributed until June 11th, 2012.

     •June 11th, 2012: On or after June 11th, 2012 all commercial containers
     of Carisoprodol must be labeled as C-IV and comply with 21CFR
     1302.03-1302.07. Only C-IV labeled product may be distributed on and
     after June Wh, 2012.




                                                                                             Watson Pharmaceuticals~

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                          ALLERGAN_MDL_03802683
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             1201368                 KIN RAY INC                      51
             1201688                 WALGREEN COMPANY                122
             1301731                 KEYSOURCE MEDICAL INC            11
             1318826                 ANDA GENERICS INC                25
             Grand Total                                             512    5% C2 orders received via CSOS




             1318826                 ANDA GENERICS INC                87
             1201315                 HD SMITH                        545
             1301731                 KEYSOURCE MEDICAL INC            42
             1201368                 KIN RAY INC                      58
             1201766                 MASTERS PHARMACEUTICALS INC      12
             1201399                 MCKESSON                        559
             1201630                 SUPERVALU, INC.                  10
             1201688                 WALGREEN COMPANY                197
             Grand Total                                            1586   16% C2 orders received via CSOS




             1318826                 ANDA GENERICS INC               146
             1201162                 DAKOTA DRUG /NC/MINOT           109
             1201315                 HD SMITH                        538
             1301731                 KEYSOURCE MEDICAL INC            23
             1201368                 KIN RAY INC                      34
             1201766                 MASTERS PHARMACEUTICALS INC      71
             1201399                 MCKESSON                       4088
             1201428                 MIAMI-LUKEN INC                  21
             1201458                 NC MUTUAL WHOLESALE DRUG         13
             1201630                 SUPERVALU, INC.                  26
             1201688                 WALGREEN COMPANY                213
             Grand Total                                            6613   74% C2 orders received via CSOS

             # OF C2 CUSTOMERS                                 so
             # CSOS CUSTOMERS                                  12                                            Watson Pharmaceuticals~
             % OF CUSTOMERS
             csos                I                           24%


CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                         ALLERGAN_MDL_03802684
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                                                    Q&A




                                                                                             Watson Pharmaceuticals~

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                          ALLERGAN_MDL_ 03802685
                                            Case: 1:17-md-02804-DAP Doc #: 1967-85 Filed: 07/23/19 34 of 35. PageID #: 177242




                                                                                                                            Mar}" Woods
                                                           Nancy Radcliffe
                                                                                                                          Executive Director
                                                   Administrative Assistant II




                                            ~_udy Callahan                                                                    Laura Pinti                                                Sandra Simmons
                                    Manager - Customer Relations                                                          Project Manager 111                                        Manager - Support Services




                                                                                                                                                                                 Temp
                                               Darlene Grimm                         Gilberta Sandoval
                                                                                                                                                                            ~;{                               Bettina Dwor
    Gloria Fernandez                                                                                                                 Chris Marino                    Supports CS Team/Customers: Jeff,         ~or
                                                 Customer Relations                      S'Mfchboard Operator                                                         Vicky, Cheryl Becker (Anda, Mark        Portal Administration
       customer Rela6ons
                                         Premier Group fl). Sm Retail Chains,   -NB Prog-am lit. Fulfilment
                                                                                                                                       sptttiity Accounts
     ABC, Kinray, Caremar1<,                                                                                                  International, Nephrology Accounts,             Bittman)& OMS
                                         Puerto Rico, House Accts - N & SE -    -Next Choice-Orders to Resolve -
          Medco, CVS                                                                                                             Direct Trelstar, Replacements
                                                     Vet Accounts               Administrative



                                                                                                                                                                           Kathy Sartori                     Marx Moskello
      Michele Garcia                        Christi Hammonds
                                                                                                                                                                             drder Administrator
                                                                                                                                                                                                             Licens~or
       Customer Relations
                                                                                                                                     Bernice Mitra                   Supports CS Team/Customers: Bea,
                                                 customer Relations                                                                   Specialty Accounts                                                     SOMS Administration
 Walmart, Walgreens, HEB, Meijer,                                                                                                                                             Darlene & Gloria
                                        Independent Dist., House Accounts - N                                                Made-to-Order, Business Development,
    Kroger/Peyton, Albertsons,
                                          & SW, Omnicare, Harvard, FW Kerr                                                   Papsure, Patient Assistance Programs
      SuperValu, Nico Gum



                                                                                                                                                                         Carolyn Walden
                                             Renee Hernandez                                                                                                                 Order Administrator             Vicky Lepore
           Jeff Gee                                                                                                                                                 Supports CS Team/Customers: Renee,   Customer Master Admm1s&at10n
                                                Customer Relations
       Customer Rela6ons                                                                                                                                                 Michele, Christi & Samples
                                                 McKesson, Kaiser,
PHS, Government, DOD, Convenient
                                               Costco, Safeway, HEB,
     Store Dist, CDC, Target
                                               Albertsons/SuperValu




       Y!_cky Goldy
       Customer Relations
      Optisource Group (13),
                                                  Bea Padilla
                                                Customer Relations
                                                                                                                   Dept. Headcount-22
                                           Anda, ESI, Rite Aid, Gulf South,
             Cardinal,
         American Sales
                                              Publix, Morris & Dickson                                    Customer Relations - CA - 12
                                                                                                           Support Services - NJ - 10                                     Watson Pharmaceuticals!i'

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                                                            Vince                                                               Maureen
                   Giannone                               Rinaudo                                                                 Barrett                        Blitman
         Gloria Fernandez/Darlene Grimm           Renee Hernandez/Jeff Gee      Michele Garcia/Christi Hammonds          Bea Padilla/Vicky Goldy        Jeff Gee/Renee Hernandez
                                                                                    Primary Accounts
         AmerisourceBergen                X    Albertsons/SuperValu           x Diamond Pharmacy                     x JANDA                      x ,coast Guard
         Ahold-Giant                      X    Amerinet                       x Discount Drug Mart                   x 1Afaxys                    X J000
         American Health Pkg              X    Apexus                         x Frank W Kerr                         x IAPI                       x I Indian Health SeMces
         Armada                           X    Bartell's                      x Harvard                              x ,cardinal                  x 1Minnesota Multi-State
         Cedardale                        X    Broadlane                      x ESI COMPANIES:                       x I Chain Drug Consortium    x I Public Health SeMce
         Cigna Mail                       X    Costco                         X     Curascript (Econodisc)           X [Epic                      X JR& s
         CVS                              X    HEB                            X     Rx Outreach                      x !Health & Diagnostic       x I State Targets
         Giant Eagle                      X    Kaiser                         x GeriMed                              x I HPG (HealthTrust)        X 1VA
         HD Smith                         X    McKesson                       x Humana                               x tKerr                      X
         Hannaford Bros                   X    Morris & Dickson               x Immediate Pharm SeM                  X !Kinney                    X
         lnnovatix                        X    Novation                       X lndpendent Pharm Corp                X INC Mutual                 X
         Medco Health Solutions           X    Optum (Prescription Sol)       x Keysource                            x I OptiSource               X
         MHA                              X    PBA                            x Masters Rx                           x !Premier Inc.              X
         Oncology Supply (ABC)            X    Safeway                        x Meijer                               x I Prime Therapeutics       X
         Premier Group                    X    SAJ                            x Omnicare                             x !Publix                    X
         Price Choppers                   X    Schnucks                       x PDM                                  x I Puerto Rico Brand Launch
         Henry Schein                     X    Wal-Mart                       x Kroger/Peyton/ESI/EconDisc           x !Rite Aid                  X
         Wakefern/S hoprite               X                                     Pharmacy Select                      x {Tarqet                    X
         Webster Vet Sup                  X                                     Sears/Kmart                          x I Thrifty White            X
         Weis Markets                     X                                     Shopko                               x IWinn Dixie                X
                                                                                Topco                                X
                                                                                Walgreen                             X
                                                                                   Secondary Accounts
         HPG (Hospice)                    Ix   I Brookshires (Topco)          x Aurora                               x   I Fruth Pharmacy           X
                                               Sasha's                        x Dakota Drug                          x   IAPCI                      X
                                               Pamida                         X Dik Drug                             x   lcochran                   X
                                               Seacoast Medical               x DMS                                  x   lvita Rx                   X
                                               United                         x IPS                                  x   I Gulf South/PSS           X
                                                                                                                           Healthpartners           X
                                                                                                                           Navarro                  X


         Tony                                  Not assigned                      David                                   Maureen
         Altro Contract                        Osborn                            Hy-Vee (Topco)?                         Aetna Contract
         Industrial Drug Supply                RoySpec                           Lake Erie/Quality Care Prod.            Cesar Castillo
                                               WOO (Maureen ?)                   Med-Health                              Generisys (BioScrip)
         All haw TG number                                                       K-VAT FOODS (Topco)?                    Drogueria Central
                                               WDD has Gary (1811) number                                                lnformedRx
                                                                                 All have OS number                      Premier Value Alliance
                                                                                                                         All haw MB number

         Not on Allan's - but we identified they are handled by the DNA's when working with CRA's
                                                                                                                                                                    Wr.t·     c.nn
                                                                                                                                                                    II• .,...,._. .... Pharm·a ceu 11cal· s
                                                                                                                                                                              1;!11! •   ; ,   .   .   .   ·'   ,~.   .   ...
                                                                                                                                                                                                                                8
                                                                                                                                                                                                                                .i
         Kathleen if there is a price update and to mow to a contract price, does Contracts notify MD to attach the account to the contract, and the DNA as well?
         Many DOD not assigned to Mark, many do not haw contract entity.


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